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     its Department of Corrections
 9
                                    UNITED STATES DISTRICT COURT
10
                                          DISTRICT OF NEVADA
11
     DONALD WALDEN JR, NATHAN                                Case No.: 3:14-cv-00320-MMD-WGC
12   ECHEVERRIA, AARON DICUS, BRENT
     EVERIST, TRAVIS ZUFELT, TIMOTHY
13   RIDENOUR, and DANIEL TRACY on behalf of
     themselves and all others similarly situated,           DEFENDANTS THE STATE OF
14                                                           NEVADA, EX REL. ITS NEVADA
                           Plaintiffs,                       DEPARTMENT OF CORRECTIONS’
15                                                           SIXTH MOTION TO FILE UNDER
     vs.                                                     SEAL
16
     THE STATE OF NEVADA, EX REL. ITS
17   NEVADA DEPARTMENT OF CORRECTIONS,
     and DOES 1-50,
18
                           Defendants.
19
             Defendant the State of Nevada, ex rel. its Nevada Department of Corrections (“NDOC”), by
20

21   and through its attorneys, Wilson Elser Moskowitz Edelman & Dicker LLP, hereby moves to seal

22   certain confidential exhibits attached to NDOC’s Opposition to Plaintiffs’ Motion for Partial

23   Summary Judgment on Liability for Unpaid Wages Under the FLSA, concurrently filed herewith.
24
     This is the sixth such filing, in keeping with NDOC’s prior Motion to Decertify Collective Action,
25
     filed on January 31. 2018 (ECF Nos. 134 and 135), Opposition to Motion for Partial Summary
26
     Judgment on the FLSA Claims With Respect to the Two Issues of Liability Presented, filed February
27
     28, 2018 (ECF Nos. 142 and 143), Opposition to Motion for Class Certification, filed on March 12,
28


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     2018 (ECF Nos. 159 and 160), Reply in Support of Motion to Decertify Collective Action (ECF
 1

 2   Nos. 171 and 172), and NDOC’s Motion to Exclude all Evidence from Plaintiffs’ Experts, The

 3   Employment Research Corporation, Malcolm Cohen and Laura Steiner (ECF No. 189).
 4           This Motion is made and based upon the following Memorandum of Points and Authorities,
 5
     all pleadings and papers on file herein, and any oral argument that may be presented at any hearing
 6
     on the Motion. A proposed Order is attached hereto as Exhibit “A.”
 7
             DATED: April 7, 2020.
 8
                                                           WILSON ELSER MOSKOWITZ
 9                                                         EDELMAN & DICKER LLP
10                                                By BY:    /s/ Cara T. Laursen
                                                           Cara T. Laursen, Esq.
11
                                                           Nevada Nar No. 014563
12                                                         300 South 4th Street - 11th Floor
                                                           Las Vegas, NV 89101-6014
13                                                         Attorneys for Defendants, The State of Nevada,
                                                           ex rel. is Department of Corrections
14

15
                          MEMORANDUM OF POINTS AND AUTHORITIES
16
       I.    INTRODUCTION
17

18           NDOC once again respectfully requests an Order sealing certain exhibits attached its

19   Opposition to Plaintiffs’ Motion for Partial Summary Judgment on Liability for Unpaid Wages

20   Under the FLSA, concurrently filed herewith to protect the confidentiality of information and
21
     material subject to the Stipulated Protective Order filed on September 23, 2015.             NDOC’s
22
     Opposition to Plaintiffs’ Motion for Partial Summary Judgment on Liability for Unpaid Wages
23
     Under the FLSA necessarily cites to and references this confidential material.          Furthermore,
24
     Plaintiffs have confirmed the anticipated use of additional confidential documents also subject to the
25

26   Stipulated Protective Order.    Accordingly, NDOC seeks an order sealing those exhibits and

27   additional documents.
28
                                                       2
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      II.    ARGUMENT
 1

 2           This Court has the discretion to seal records pursuant to Federal Rule of Civil Procedure

 3   5.2(d), which states that this Court “may order that a filing be made under seal without redaction.”
 4   Under Local Rule 10-5(b), “papers filed with the Court under seal shall be accompanied by a motion
 5
     for leave to file those documents under seal […].” Pursuant to the Nevada Rules for Sealing and
 6
     Redacting Court Records (“SRCR”), any person may request that the court seal or redact court
 7
     records by filing a written motion to initiate proceedings to seal or redact a court record. See SRCR
 8

 9   Rule 3(1). The public interest in privacy that outweighs the public interest in open court records

10   includes findings that: “the sealing furthers […] a protective order entered under NRCP 26(c).” Id.

11   at 3(4)(c).
12           The parties entered into a Stipulated Protective Order on September 23, 2015, to protect
13
     certain confidential information and records from becoming public knowledge. This confidential
14
     information is deemed confidential in order to protect the internal policies and procedures of the
15
     NDOC facilities. In the interest of public safety, it is necessary that this information be kept
16

17   confidential. The following exhibits are deemed to be confidential and subject to the Stipulated

18   Protective Order and therefore, are entitled to be filed under seal.

19
      Exhibit         Description of Document
20    F.
                      Declaration of Robert Crandall
21
      G.
                      Deposition of Daniel Tracy (excerpts)
22
      H.
23                    Deposition of Aaron Dicus (excerpts)
      I.
24                    Deposition of Travis Zufelt (excerpts)

25    J.
                      Deposition of Donald Walden Jr. (excerpts)
26    K.
                      Salary Administration Regulation 320
27    L.
                      Variable Work Schedule Request
28
                                                         3
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 1    M.
                  Election of Compensatory Time
 2    N.
                  Variations in Plaintiff Work Schedules and Compensatory Time
 3    O.
                  Deposition of Timothy Carlman (excerpts)
 4    P.
                  Deposition Donald Patrick Riggs (excerpts)
 5
      Q.
                  Administrative Regulation 326 Posting of Shifts - Overtime
 6
      R.
 7                Aaron Dicus Employee Personnel File
      S.
 8                Table 2
      T.
 9                State of Nevada Employee Handbook (excerpts)
10    U.
                  Employee Paycheck Analysis for Aaron Dicus
11    V.
                  Employee Paycheck Analysis for Nathan Echeverria
12    W.
                  Employee Personnel File of Brent Everist
13
      X.
                  Employee Personnel File of Timothy Ridenour
14
      Y.
15                Employee Personnel File of Daniel Tracy
      Z.
16                Employee Personnel File of Donald Walden, Jr.
      AA.
17                Employee Personnel File of Travis Zufelt
18    BB.
                  State of Nevada Human Resources Data Warehouse, Employee Paycheck Analysis
19                for Various
20    CC.
                  Authorization for Leave and Overtime Request Form for Brent Everist
21    DD.
                  Authorization for Leave and Overtime Request Form for Timothy Ridenour
22    EE.
                  Authorization for Leave and Overtime Request Form for Daniel Tracy
23
      FF.
                  Deposition of Andre Natali (excerpts)
24
      GG.
25                Deposition of Eric Jones (excerpts)
      HH.
26                Deposition of Francisco Bautista (excerpts)
      II.
27                Deposition of Jo Gentry (excerpts)
28
                                                  4
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     III.    CONCLUSION
 1

 2           For the foregoing reasons, NDOC respectfully requests that this Court enter an Order sealing

 3   the aforementioned list of exhibits attached to NDOC’s Opposition to Plaintiffs’ Motion for Partial
 4   Summary Judgment on Liability for Unpaid Wages Under FLSA, concurrently filed herewith and
 5
     additional documents to be utilized by Plaintiffs in their anticipated motion practice. A proposed
 6
     order is attached hereto as Exhibit “A.”
 7
             DATED: April 7, 2020.
 8
                                                          WILSON ELSER MOSKOWITZ
 9                                                        EDELMAN & DICKER LLP

10
                                                 By BY:    /s/ Cara T. Laursen
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14                                                        ex rel. is Department of Corrections
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 1                                     CERTIFICATE OF SERVICE
 2           Pursuant to FRCP 5(b), I certify that I am an employee of WILSON, ELSER,
 3   MOSKOWITZ, EDELMAN & DICKER LLP and that on the 7th day of April, 2020, I electronically
 4   filed and served a true and correct copy of the foregoing DEFENDANTS THE STATE OF
 5   NEVADA, EX REL. ITS NEVADA DEPARTMENT OF CORRECTIONS’ SIXTH MOTION
 6   TO FILE UNDER SEAL to all parties on file with the CM/ECF:
 7

 8    Mark R. Thierman, Esq.                               Christian Gabroy, Esq.
      Joshua D. Buck, Esq.                                 Kaine Messer, Esq.
 9    Leah L. Jones, Esq.                                  GABROY LAW OFFICES
      THIERMAN BUCK LLP
      7287 Lakeside Drive                                  The District at Green Valley Ranch
10                                                         170 South Green Valley Parkway, Suite 280
      Reno, NV 89511
      Tel: 775-284-1500                                    Henderson, NV 89012
11
      Fax: 775-703-5027                                    Telephone: (702) 259-7777
12    Attorneys for Plaintiffs                             Fax: (702) 259-7704
                                                           Attorneys for Plaintiffs
13
                    Defendants Sealed Exhibits listed in this Motion will be sent to Plaintiffs’
14
     electronically with a Dropbox link that is password protected.
15

16

17                                  By:   /s/ Lani Maile
18                                        An Employee of WILSON, ELSER, MOSKOWITZ,
                                          EDELMAN & DICKER LLP
19

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